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Distict of Nevada ~
UNITED STATES DISTRICT COURT By, “__ Deputy
DISTRICT OF NEVADA

Drew J. Ribar,

Plaintiff,

Vv. :
State of Nevada ex rel. Nevada Department of Corrections; Carson City; Sheriff Kenneth
Furlong, in his official and individual capacities; Deputy Jason Bueno, in his official and
individual capacities; Deputy Sean Palamar, in his individual capacity; Sgt. Robert Smith, in
his individual capacity; Sgt. Fernandeis Frazier, in his individual capacity; Sgt. TJ Boggan, in
his official and individual capacities; District Attorney Jason Woodbury. in his official
capacity; and DOES 1-10,

Defendants.

Case No. 3:24-cv-00103-ART-CLB

FIRST AMENDED COMPLAINT

NURY TRIAL DEMANDED]

INTRODUCTION

Plaintiff Drew J. Ribar, a Nevada resident and owner of A&A Towing, Inc., brings this action
under 42 U.S.C. § 1983, 42 U.S.C. § 1985(3), and supplemental state law (28 U.S.C. § 1367)
against Defendants for a pattern of unconstitutional retaliation, censorship, conspiracy, and
excessive force from August 30, 2022 to March 20, 2025, targeting his First Amendment press

activities as Audit Reno 9/1.

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Defendants arrested Plaintiff, subjected him to hotboxing, towed his vehicle, maliciously

prosecuted him, censored 11,653 social media comments (including 55 tied to Plaintiff in
2024), blocked his online account, and detained him for recording in a public lobby, violating the
First, Fourth, Fifth, and Fourteenth Amendments, and Nevada Constitution Art. 1, §§ 1, 6,

8, 9, and 18.

Plaintiff seeks declaratory, injunctive, compensatory, punitive, and other relief under

Exhibits A—P and further relief as the Court deems just.

JURISDICTION AND VENUE

¢ Jurisdiction: This Court has jurisdiction under 28 U.S.C. § 1331 (federal questions) and
§ 1367 (state law claims).
¢ Venue: Proper under 28 U.S.C. § 1391(b)(2), as all events occurred in Carson City,

Nevada, within this judicial district.

PARTIES

¢ Plaintiff Drew J. Ribar resides at 3480 Pershing Ln, Washoe Valley, NV 89704, and
operates A&A Towing, Inc.

e State of Nevada ex rel. NDOC is a state agency that oversees Northern Nevada

Correctional Center (NNCC).
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I e Carson City is a municipal corporation liable under Monell v. Dept. of Soc. Servs., 436

to

U.S. 658 (1978).

3
¢ -Sheriff Kenneth Furlong, sued in his official and individual capacities, oversees
4
CCSO.
5
6 ¢ Deputy Jason Bueno, sued in his official and individual capacities, arrested and
7 hotboxed Plaintiff.
8 ¢ Deputy Sean Palamar, sued in his individual capacity, ordered the retaliatory tow.
9
e Sgt. Robert Smith, sued in his individual capacity, enforced unlawful orders.
10
i e Sgt. Fernandeis Frazier, sued in his individual capacity, supervised the unlawful
12 arrest.
13 ¢ Sgt. TJ Boggan. sued in his official and individual capacities, detained Plaintiff using
4 Marsy’s Law signage.
15
¢ District Attorney Jason Woodbury, sued in his official capacity, ignored direct
16
17 censorship notice.
12 ¢ DOES 1-10: Unknown CCSO or Carson City agents to be identified through discovery.
19
20
21
, || FACTUAL ALLEGATIONS
23
24 || August 30, 2022 Incident
25
6 ¢ Plaintiff filmed from a public road near NNCC with no visible "No Trespassing" signs|
27 (Exhibit A, 01:00:47; 01:07:15.541).
28
PLEADING TITLE - 3

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| ¢ NDOC staff falsely claimed the area was private and summoned CCSO (Exhibit A,

N

01:03:27).
, e Sgt. Smith stated Plaintiffs shirt color made him a “threat” (Exhibit A, 01:14:44,541 ).
4 .
; e Plaintiff's truck was boxed in (Exhibit A, 01:07:36).
6 ¢ Deputy Bueno arrested Plaintiff (Exhibit C, 01:20:22) and hotboxed him in a 95°F
7 patrol car with closed windows (Exhibit C, 01:25:00 onward).
8 + Deputy Palamar ordered the unlawful tow of Plaintiff's vehicle (Exhibit E), violating
: due process and costing $315.50 (Exhibit B).
I e CCSO threatened Plaintiff's business contract rotation with NDOT (Exhibit E,
12 0:01:20).
13 * Mismatch between declared and cited charges (Exhibits F and H. EX019).
14

e Case was ultimately dismissed without trial (Exhibit K).

'6 || Social Media Censorship

17

18 * Carson City deleted 11,653 social media comments over ten ycars, including 55 in

19 January 2024 tied to Plaintiff's arrest video (Exhibit N; Exhibit L, 1/18-1/24/2024).

* ¢ Plaintiffs page, Audit Reno 911, was blocked from city-run pages (Exhibit L, EX030).
2

¢ On January 19, 2024, Plaintiff emailed Sheriff Furlong and DA Woodbury warning
3 that CCSO’s conduct violated First Amendment precedents including Garnier (Exhibit
24 M).

25 e Despite notice, CCSO continued deleting comments and blocking users (Exhibit N,
6 1/22-1/23/2024).

27

28

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] « Plaintiff's request under the Nevada Public Records Act (NPRA) confirmed the volume

Nn

of deletions (Exhibit O, EX033-EX036).

3
+ ||March 20, 2025 Incident
5
6 ¢ Plaintiff entered the CCSO public lobby to serve legal papers and filmed the encounter
7 (Exhibit P, 01:04:31).
, ¢ Sgt. Boggan detained Plaintiff (Exhibit P, 01:00:03.583), citing a sign referencing
6
: Marsy’s Law to prohibit recording (Exhibit P, 01:06:02.166).
i ¢ No victim was present, and Plaintiff cited Nevada Constitution Art. 1, § 9 (Exhibit P,
12 01:09:08.333) protecting press freedom.
I ¢ Plaintiff challenged the recording ban as a prior restraint (Exhibit P, 01:09:49.208),
4 referencing Packingham v. North Carolina, 582 U.S. 98 (2017), and Mack v. Williams,
522 P.3d 897 (Nev. 2022).
7 ¢ Federal case law protects public recording (e.g., Glik v. Cunniffe, Fordyce v. Seattle),
18 and Marsy’s Law does not supersede press rights in public spaces.
19
20
21
2 || CAUSES OF ACTION
23

°4 | Count I — First Amendment Retaliation (42 U.S.C. § 1983) — All Defendants

26 || Defendants violated Plaintiff's clearly established right to record public officials (G/ik v.

Cunniffe, 655 F.3d 78; Fordyce v. Seattle, 55 F.3d 436), and to speak freely on government

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social media (O ‘Connor-Ratcliff v. Garnier, 144 8. Ct. 717 (2024); Knight First Amendment Inst

v. Trump, 928 F.3d 226).

Count II — Fourth Amendment Seizures (42 U.S.C. § 1983) — Bueno, Palamar,

Smith, Frazier, Boggan

Plaintiff was arrested without probable cause, detained, and had his vehicle towed, violating

Devenpeck v. Alford, 543 U.S. 146 (2004).

Count III — Fourteenth Amendment Excessive Force (42 U.S.C. § 1983) — Bueno

Plaintiff was hotboxed in a patrol car during summer heat (Exhibit C, 01:25:00 onward), an
objectively unreasonable condition under Kingsley v. Hendrickson, 576 U.S. 389 (2015), and

Bell v. Wolfish, 441 U.S. 520 (1979).

Count IV — Fourteenth Amendment Due Process (42 U.S.C. § 1983) — All

Defendants

Defendants denied procedural due process in the arrest, tow, and prosecution (Exhibits F, G, H
and engaged in substantive due process violations through threats, censorship, and retaliation

(Mathews v. Eldridge, 424 U.S. 319; County of Sacramento v. Lewis, 523 U.S. 833).

Count V — Monell Liability (42 U.S.C. § 1983) — Carson City, Furlong,

Woodbury

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A decade-long custom of censorship (Exhibit N), failure to act after notice (Exhibit M), and

city-wide blocking (Exhibit L, EX030) establish municipal liability under Monell, 436 U.S. 658,

Count VI — Conspiracy to Violate Civil Rights (42 U.S.C. §§ 1983 & 1985(3)) —

Bueno, Palamar, Smith, Frazier

Defendants acted in concert to retaliate against Plaintiff for protected activity, coordinating arrest
and towing (Exhibit A, 01:07:36; Exhibit E), satisfying Snell v. Tunnell, 920 F.2d 673 (10th Cir.

1990).

Count VII — State Law Claims (28 U.S.C. § 1367)

¢ False Imprisonment (NRS 200.460): Bueno, Smith, Frazier, Boggan detained Plaintiff
without legal justification (Exhibits C, P).

¢ Oppression Under Color of Law (NRS 197.200): All Defendants knowingly abused
legal authority (Exhibits A, N, P).

¢ Intentional Interference with Prospective Economic Advantage: CCSO’s retaliation

harmed Plaintiff's towing business (Exhibits E, G 4. N).

RELIEF REQUESTED

Plaintiff requests:

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| ¢ Declaratory Relief: Declare Defendants’ actions unconstitutional, including the Marsy's
Law sign, and censorship/blocking of public forums.
3
¢ Injunctive Relief: Enjoin Defendants from detaining individuals for recording in public
4
. Spaces and censoring social media speech.
6 e Compensatory Damages: All economic and emotional losses, including towing fees,
7 lost revenue, business disruption, and reputational harm.
8 ¢ Punitive Damages: For Defendants’ willful, malicious, and reckless misconduct.
9
¢ Nominal Damages: For established constitutional violations where monetary harm may
10
1 not be quantifiable.
12 ¢ Costs and Fees: All litigation and filing costs, and attorney’s fecs under 42 U.S.C. §
13 1988, if retained.
4 e Further Relief: Any additional legal or equitable relief the Court deems proper.
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8 | JURY DEMAND
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20 seg . . . .
Plaintiff demands a trial by jury on all triable claims.
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4 1} CERTIFICATION UNDER RULE 11
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" Case 3:24-cv-00103-ART-CLB Document 43-1 Filed 03/28/25 Page 9 of 9

I, Drew J. Ribar, certify under Fed. R. Ciy. P. 11 that this complaint is presented in good faith,
not for improper purpose, and the factual allegations have evidentiary support in Exhibits A-P,

filed herewith or available upon request.

Dated: March 28, 2025

/s/ Drew J. Ribar

Drew J. Ribar, Pro Se

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